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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 LACI N. BLANCHARD, Individually, and §
 as next friend of W.B., Surviving minor child §
 of RONNIE P. BLANCHARD, JR.                   §
                                               §
         Plaintiffs                            §
                                               §              Civil Action No. 22-cv-2420
 v.                                            §
                                               §
 SANARE ENERGY PARTNERS LLC                    §
                                               §
         Defendant.                            §

       DEFENDANT SANARE ENERGY PARTNERS LLC’S NOTICE OF REMOVAL

To the Honorable U.S. District Judge:

        Defendant Sanare Energy Partners LLC respectfully submits its Notice of Removal.

  I.    INTRODUCTION AND RELEVANT FACTS

        1.     This is a maritime case involving fatal personal injuries sustained during an

offshore accident. See Pl.’s Orig. Pet. ¶ 5. Plaintiff Laci N. Blanchard (“Blanchard”) is the alleged

surviving spouse of the decedent Ronnie P. Blanchard, Jr. (“Decedent”). See id. ¶ 3. Blanchard

also asserts claims on behalf of Decedent’s surviving minor daughter W.B. See id.

        2.     Blanchard claims that on March 25, 2022, Decedent was employed by SBS Energy

Services LLC (a non-party) and working at an unidentified offshore location allegedly owned

and/or operated by Defendant. See id. ¶ 5. On that date, Blanchard claims Decedent was working

on or around a 120,000 pound blowout preventer and pipe jack assembly which was being erected

at the offshore location in the Gulf of Mexico when it collapsed. See id. Blanchard also claims

Decedent was “attached” to the blowout preventer and pipe jack assembly when it collapsed into

the ocean thereby trapping Decedent underwater. See id.
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         3.       Defendant maintains Decedent was employed as an operator with SBS Energy

Services LLC and assigned to work aboard the LB SWORDFISH. See R. Coleman Decl. ¶ 10. The

LB SWORDFISH is a lift boat owned and operated by non-party All Coast, LLC (“All Coast”),

which was provided to the project at the offshore location pursuant to All Coast’s contract with

Defendant. See id. ¶ 9.

         4.       Defendant also contracted with SBS for the installation of a hydraulic workover

unit (“HWOU”) on Well No. 19, a single caisson1 well located in Main Pass Field 64 of the Gulf

of Mexico (the “Well”). The Well is affixed to the Outer Continental Shelf on lease No. OCS-G

4909. See id. ¶ 5. SBS Energy Services LLC employees resided on the LB SWORDFISH and used

the cranes onboard that vessel to assist with moving, constructing, and physically placing/installing

the HWOU on the Well. See id. ¶ 10.

         5.       The HWOU was placed on the Well for the purposes of conducting workover

operations, which involved removing the tubing in the Well and replacing it with new tubing. See

id. ¶¶ 7–8. The tubing being replaced is used to physically extract oil from the OCS. See id. ¶ 7.

         6.       Blanchard has asserted wrongful death and survival claims against Defendant based

on theories of negligence, premises liability, and gross negligence. See id. § VI. Through her claims

in this lawsuit Blanchard seeks a variety of damages in her individual capacity as well as on behalf

of W.B. See id. § VII.




1
         In geotechnical engineering, a “caisson” is a watertight retaining structure used, for example, to work on the
foundations of a bridge pier, for the construction of a concrete dam, for the repair of ships, or in a variety of
applications on offshore production platforms and vessels.

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 II.   THE PARTIES

       7.      Blanchard is a natural person and claims to be a resident of Louisiana. See Pl.’s

Orig. Pet. ¶ 3. Defendant Sanare Energy Partners LLC is a limited liability company formed under

the laws of Delaware with a principal place of business in Houston, Texas.

III.   BASIS FOR REMOVAL

       A. This Court has original jurisdiction pursuant to the Outer Continental Shelf
          Lands Act.

       8.       This Court has original jurisdiction over this civil action based on federal question

jurisdiction pursuant to the Outer Continental Shelf Lands Act (“OCSLA”). See 28 U.S.C. §1441;

see also 43 U.S.C. § 1331, et seq; Barker v. Hercules Offshore, Inc., 713 F. 3d 208, 220–21 (5th

Cir. 2013). This Court retains original jurisdiction regardless of (1) whether federal, state, or

maritime law provides the substantive rule of decision in the case, and (2) the citizenship of the

parties. See Barker, 713 F. 3d at 220–22. Because OCSLA expressly confers jurisdiction on the

federal district courts, “[a] plaintiff does not need to expressly invoke OCSLA in order for it to

apply.” See Matte v. Mobil Expl. & Producing N. Am. Inc., No. 18-7446, 2018 WL 5023729, at *4

(E.D. La. Oct. 17, 2018) (citing Barker, 713 F.3d at 220; see also Roy v. Ardent Companies, Inc.,

2015 WL 4135781, at *3 (M.D. La. July 8, 2015).

       9.      The U.S. Court of Appeals for the Fifth Circuit has consistently interpreted

OCSLA’s jurisdictional grant broadly utilizing the “but-for” test in order to determine if a cause

of action arises under OCSLA. Lopez v. McDermott, Inc., Civ. A. No. 17-8977, 2018 WL 525851,

at 2 (E.D. La. Jan. 24, 2018). Specifically, the “but-for” test asks whether: (1) the facts underlying

the complaint occurred on the proper situs; (2) the plaintiff’s employment furthered mineral

development on the Outer Continental Shelf; and (3) the plaintiff’s injury would not have occurred

but for his employment. See Barker, 713 F.3d at 220-22 (citing Demette v. Falcon Drilling Co.,


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280 F.3d 492, 496 (5th Cir. 2002); Recar v. CNG Producing Co., 853 F.2d 367, 369 (5th Cir.

1988)); see also Hufnagel v. Omega Serv. Indus., Inc., 182 F.3d 340, 350 (5th Cir. 1999). The

pertinent facts in this case easily meet the requisite test.

        10.     It is tautological that a plaintiff’s tort claim must arise from operations involving

the exploration, development, or production of minerals on the Outer Continental Shelf for

OCSLA jurisdiction to exist. Tenn. Gas Pipeline v. Houston Cas. Ins. Co., 87 F.3d 150, 154 (5th

Cir. 1996). Operations involving the exploration, development, or production of minerals on the

OCS “denote respectively the processes involved in searching for minerals on the OCS; preparing

to extract them by, inter alia, drilling wells and constructing platforms; and removing the minerals

and transferring them to shore.” See id. Additionally, the terms “exploration,” “development,” and

“production,” are defined broadly “to encompass the full range of oil and gas activity from locating

mineral resources through the construction, operation, servicing and maintenance of facilities to

produce those resources.” See EP Operating Ltd. P’ship v. Placid Oil Co., 26 F.3d 563, 568 (5th

Cir. 1994). While the term “operation” is not defined under OCSLA, the U.S. Court of Appeals

for the Fifth Circuit has defined “operation” to mean the doing of some physical act on the Outer

Continental Shelf. Tenn. Gas Pipeline, 87 F.3d at 154; Amoco Prod. Co. v. Sea Robin Pipeline

Co., 844 F.2d 1202, 1207 (5th Cir. 1988).

        11.     “Development” is defined under OCSLA as “those activities which take place

following discovery of minerals in paying quantities, including geophysical activity, drilling,

platform construction, and operation of all onshore support facilities, and which are for the purpose

of ultimately producing the minerals discovered.” 43 U.S.C. § 1331(l). Plug and abandonment

work has been held to involve the drilling and production of oil and gas. See In re Crescent Energy

Services LLC, 896 F.3d 350 (5th Cir 2018).



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               i.   Incident making the basis of Plaintiff’s claims occurred on the Outer
                    Continental Shelf.

       12.      The alleged incident involving Decedent occurred on the HWOU, which had been

installed on top of the caisson. See R. Coleman Decl. ¶¶ 3, 5, 7, 12. The caisson at issue is located

in Main Pass Field 64 of the Gulf of Mexico and is permanently affixed to the Outer Continental

Shelf at lease No. OCS-G 4909. See id. ¶¶ 3, 5. Additionally, the LB SWORDFISH, to which

Decedent was allegedly assigned, was temporarily affixed to the Outer Continental Shelf at the

time of the alleged incident. See id. ¶¶ 9–11. Thus, the incident at issue occurred on the Outer

Continental Shelf, thereby satisfying the first prong of the “but-for” test.

              ii.   Decedent’s employment furthered mineral development on the Outer
                    Continental Shelf.

       13.      At the time of the alleged incident, Decedent was employed and working as an

operator for SBS Energy Services LLC. Upon information and belief, Decedent’s job duties as an

operator related solely to the Well and/or installation of the HWOU. The installation of the HWOU

was for the purposes of servicing the Well at issue. Upon further information and belief, Decedent

was not a member of the All Coast lift boat crew. Accordingly, Decedent’s employment with SBS

Energy Services LLC and the job duties he was performing at the time of incident furthered mineral

development on the Outer Continental Shelf. The second prong of the “but-for” test is met.

             iii.   Decedent’s injury would not have occurred but for his employment on the Outer
                    Continental Shelf.

       14.      Decedent’s injuries made the basis of this lawsuit would not have occurred, but for

his employment furthering mineral development on the Outer Continental Shelf. SBS Energy

Services LLC’s installation of the HWOU and Decedent’s job duties in connection with that job

materially assisted in the exploration and production of oil and gas on the Outer Continental Shelf.

See id. ¶¶ 6–7. Indeed, had Decedent not been assigned to this job, then he likely would never


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have been on the caisson at issue at the time of the alleged incident.2 The third prong of the “but-

for” test is met.

         15.      Under 28 U.S.C. § 1441, any state court civil action over which the federal court

would have original jurisdiction may be removed from state to federal court. 28 U.S.C. §1441(a).

Therefore, removal of this case is proper because Blanchard’s claims fall under OCSLA, which

confers original jurisdiction upon this Court.

         B. Removal is timely and venue is proper.

         16.      Defendant was served with Blanchard’s Original Petition on June 21, 2022, which

was Defendant’s first notice and receipt of the suit. This Notice of Removal has been filed within

thirty (30) days of the receipt of the Original Petition so removal is timely. 28 U.S.C. §1446(b).

         17.      Venue is proper in the United States District Court for the Southern District of

Texas because it is the federal judicial district in which the state court action is pending. See 28

U.S.C. §1441(a).

IV.      ATTACHED DOCUMENTS AND NOTICE TO STATE COURT

         18.      All documents required under the removal statutes and the Local Rules are attached.

Defendant will promptly file a copy of this Notice of Removal and its attachments with the clerk

of the state court where the action has been pending.



                                   [signature block on the following page]




2
  See Barker v. Hercules Offshore, Inc., 713 F.3d 208, 213 (5th Cir. 2013) (“[I]t is clear that but for his employment,
Barker would not have been involved in the incident forming the basis of this suit.”); Hubbard v. Laborde Marine
LLC, 2014 WL 12776414 (E.D. La. 2014) (“Plaintiff would not have been aboard the M/V RIG RUNNER but-for the
extraction of minerals from the OCS. Accordingly, his injuries are sufficiently related to the operations on the OCS
for this Court to exercise jurisdiction”).

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                                        Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing has been served on all counsel of
record U.S. Mail, return receipt requested, or through the Clerk of this Court on this 21st day of
July, 2022.

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